Case 1:19-cv-02170-EK-LB Document 65 Filed 03/02/20 Page 1 of 1 PageID #: 458



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                                                                      March 2, 2020
Honorable Lois Bloom
United States Magistrate Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                           RE: Britney Rudler v. MLA Law Offices, Ltd. and John L. Malevitis
                               19-cv-02170 (LDH)(LB)

Dear Magistrate Judge Bloom:

    I write to correct certain representations which I made in good faith in prior filings. Initially,
in the Defendant’s opposition to the Plaintiff’s motion to strike the Defendant’s Rule 68 offer of
judgment which I filed this morning, I asserted that the Plaintiff’s attorney, J. Remy Green,
refused to produce the Plaintiff for a deposition until April. Attorney Green reminded me during
a telephone conversation this afternoon that an email was sent to me agreeing therein to produce
the Plaintiff for a deposition in late March. Also, in a prior filing addressed to District Judge
Hall, I asserted that I was advised by an attorney who was named as a defendant in the Rudler v.
Houslanger, PLLC action (referenced in the opposition I filed today) that attorney Green had
surreptitiously recorded telephone conversations with that defendant attorney. Attorney Green
assured me today that no such recording(s) occurred.

   Finally, attorney Green and I engaged in extensive settlement negotiations this afternoon
during our telephone conversation in a mutual effort to end litigation of the above-entitled action.



                                                        Respectfully submitted,

                                                        / s / Robert L. Arleo

                                                        Robert L. Arleo
RLA:gra
Cc: Defendants
    All attorneys of record via ECF
